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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MONTANA
                               MISSOULA DIVISION

 TANYA GERSH,
                                                  CV 17-50-M-DLC-JCL
         Plaintiff,

   and                                             ORDER

 TIMOTHY C. FOX, in his official
 capacity as Attorney General of the
 State of Montana,

         Intervenor,

 vs.

 ANDREW ANGLIN,

         Defendant.




       IT IS ORDERED that a hearing on Plaintiff’s Motion for Entry of Default

Judgment is set for July 11, 2019, at 10:00 a.m., at the Russell Smith Courthouse,

201 E. Broadway, in Missoula.

       DATED this 20th day of June, 2019.



                                             ______________________________
                                             Jeremiah C. Lynch
                                             United States Magistrate Judge
